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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE D ISTRICT OF N EBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
v.                                                    )       Case No. 4:10CR3042
                                                      )
MARCUS ARNETT POLK,                                   )
                                                      )
                               Defendant.             )

                                             ORDER

       THIS MATTER comes before the Court on Mr. Polk's motion to continue the deadline for

filing his variance brief, filing 85. The Court, being fully advised in the premises, finds that said

motion should be granted.

       IT IS THEREFORE ORDERED that defendant shall file his variance brief no later than

Monday, March 28, 2011.

       Dated March 21, 2011.

                                              BY THE COURT:

                                              Richard G. Kopf
                                              United States District Judge
